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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

DEXTER WEBB,                               )
                                           )
                Plaintiff,                 )
                                           )         CIVIL FILE ACTION
        vs.                                )         FILE NO._______________
                                           )         JURY DEMANDED
                                           )
THE CITY OF RIVERDALE;                     )
THE CITY OF RIVERDALE                      )
POLICE DEPARTMENT;                         )
OFFICER DANIEL VANHEE, in his              )
individual capacity and official capacity )
as a police officer; SERGEANT              )
AUGUSTUS PALMER, III., in his              )
individual and official capacity as a      )
police officer; CHIEF OF POLICE            )
SAMUEL F. PATTERSON, in his                )
individual and official capacity as a      )
police officer; OFFICER VEASNA             )
SRENG, in her individual and official      )
capacity as a police officer; CAPTIAN      )
PAUL WEATHERS, in his individual           )
and official capacity as a police officer; )
and JANE DOES 1-10; and JOHN               )
DOES 1-10,                                 )
                                           )
                Defendants.                )


                                COMPLAINT FOR DAMAGES


       COMES NOW DEXTER WEBB, Plaintiff herein by and through the undersigned

counsel, and sets forth his Complaint for Damages against the above named Defendants as

follows:

                          PARTIES, JURISDICTION, AND VENUE



       1.      Plaintiff, Dexter Webb, a resident of the state of Georgia.
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2.      Defendant, City of Riverdale Police Department is, and at all relevant times, was a

municipal corporation organized and existing under the laws of the State of Georgia and is

responsible for the policies, practices, customs, and regulations of the City of Riverdale

Police Department (herein referred to as “RPD”) and for hiring, training, supervising, and

disciplining of agents, employees and police officers of the City of Riverdale Police

Department. Said Defendant may be served at 6690 Church Street, Riverdale, Georgia

30274. Jurisdiction and venue are proper.

3.      Defendant, City of Riverdale is, and at all relevant times was, a municipal

corporation organized and existing under the laws of the State of Georgia and is

responsible for the policies, practices, customs, and regulations of the City of Riverdale

Police Department (herein referred to as “RPD”) and for hiring, training, supervising, and

disciplining of agents, employees and police officers of the City of Riverdale Police

Department. Said Defendant may be served by serving Mayor Evelyn Wynn-Dixon

through City Hall, 7200 Church Street, Riverdale, Georgia, 30274. Jurisdiction and venue

are proper.

4.      Defendant, Daniel Vanhee (herein referred to as “Vanhee”) and at all relevant

times, was a sworn officer of the City of Riverdale and/or City of Riverdale Police

Department. In his capacity as a police officer, said Defendant was responsible for

policing the City of Riverdale under the color and pretense of the federal and state laws as

well as the ordinances, regulations, customs, and usages of the State of Georgia and the

City of Riverdale Police Department. Said Defendant is being sued both in his individual

and official capacity. Defendant can be served 1310 N Melrose Dr., Suite E, Vista,

California 92083-2919. Jurisdiction and venue are proper.




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5.      Defendant, Officer Veasna Sreng (herein referred to as “Officer Sreng”) is, and at

all relevant times was, a sworn officer of the City of Riverdale and/or City of Riverdale

Police Department. In her capacity as a police officer, said Defendant was responsible for

policing the City of Riverdale under the color and pretense of the federal and state laws as

well as the ordinances, regulations, customs, and usages of the State of Georgia and the

City of Riverdale Police Department. Said Defendant is being sued in both her individual

and official capacity. Defendant can be served at 4001 Noble Creek Drive, NW, Atlanta,

Georgia 30327-5127. Jurisdiction and venue are proper.

6.      Defendant, Captain Paul Weathers (herein referred to as “Capt. Weathers”) is, and

at all relevant times was, a sworn officer of the City of Riverdale and/or City of Riverdale

Police Department. In his capacity as a police officer, said Defendant was responsible for

policing the City of Riverdale under the color and pretense of the federal and state laws as

well as the ordinances, regulations, customs, and usages of the State of Georgia and the

City of Riverdale Police Department. Said Defendant is being sued in both his individual

and official capacity. Defendant can be served at his place of employment, located at 6690

Church Street, Riverdale, Georgia 30274. Jurisdiction and venue are proper.

7.      Defendant, Sergeant Augustus Palmer III., (herein after referred to as “Sgt.

Palmer”) is, and at all relevant times was, a sworn officer of the City of Riverdale and/or

City of Riverdale Police Department. In his capacity as a police officer, said Defendant

was responsible for policing the City of Riverdale under the color and pretense of the

federal and state laws as well as the ordinances, regulations, customs, and usages of the

State of Georgia and the City of Riverdale Police Department. Based upon information

and belief, Defendant Sgt. Palmer also was a supervisor and policy maker within the

department and specifically Operations Patrol Supervisor. Said Defendant had supervisory


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and managerial authority over Defendants Vanhee, Officer Sreng, Capt. Weathers, and

Jane and John Does 1-10. Defendant was also responsible for the conducts and acts of his

duly authorized officers, specifically Defendants Vanhee, Officer Sreng, and Capt.

Weathers, and were charged with the responsibility of ensuring that Defendants Vanhee,

Officer Sreng, and Capt. Weathers complied with the color and pretense of the federal and

state laws as well as the ordinances, regulations, customs, and usages of the State of

Georgia and the City of Riverdale Police Department, and for hiring, training,

supervising, and disciplining of agents, employees and police officers of the City of

Riverdale Police Department. Also, the City of Riverdale Police Department delegated

policymaking, policy implementation and/or policy enforcement responsibility to

Defendant Sgt. Palmer. Said Defendant is sued both in his individual and official

capacities. Defendant can be served at his place of employment, located at 6690 Church

Street, Riverdale, Georgia, 30274. Jurisdiction and venue are proper.

8.      Defendant, Chief of Police Samuel F. Patterson (herein after referred to as “Chief

Patterson”) is, and at all relevant times was, a sworn officer of the City of Riverdale

and/or City of Riverdale Police Department. In his capacity as a police officer, said

Defendant was responsible for policing the City of Riverdale under the color and pretense

of the federal and state laws as well as the ordinances, regulations, customs, and usages of

the State of Georgia and the City of Riverdale Police Department. Based upon

information and belief, Defendant Chief Patterson also was a supervisor and policy maker

within the department and specifically the Chief of Police. Said Defendant had

supervisory and managerial authority over Defendants Vanhee, Officer Sreng, Capt.

Weathers, and Jane and John Does 1-10. Defendant was also responsible for the conducts

and acts of his duly authorized officers, specifically Defendants Vanhee, Officer Sreng,


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and Capt. Weathers, and were charged with the responsibility of ensuring that Defendants

Vanhee, Officer Sreng, and Capt. Weathers complied with the color and pretense of the

federal and state laws as well as the ordinances, regulations, customs, and usages of the

State of Georgia and the City of Riverdale Police Department, and for hiring, training,

supervising, and disciplining of agents, employees and police officers of the City of

Riverdale Police Department. Also, the City of Riverdale Police Department delegated

policymaking, policy implementation and/or policy enforcement responsibility to

Defendant Chief Patterson. Said Defendant is sued both in his individual and official

capacities. Defendant can be served at his place of employment, located at 6690 Church

Street, Riverdale, Georgia, 30274. Jurisdiction and venue are proper.

9.      Defendants Jane Does and John Does 1 through 10 of the City of Riverdale Police

Department are, and at all relevant times were, sworn police officers of the City of

Riverdale and/or City of Riverdale Police Department. In their capacity as police officers,

said Defendants were responsible for policing the City of Riverdale under the color and

pretense of the federal and state laws as well as the ordinances, regulations, customs, and

usages of the State of Georgia and the City of Riverdale Police Department. Defendants

were also directly responsible for the conducts and acts of their duly authorized officers,

specifically Defendants Vanhee, Officer Sreng, Capt. Weathers, Chief Patterson, and Sgt.

Palmer III., and were charged with the responsibility of ensuring that Defendants Vanhee,

Officer Sreng, Capt. Weathers, Chief Patterson, and Sgt. Palmer III complied with the

color and pretense of the federal and state laws as well as the ordinances, regulations,

customs, and usages of the State of Georgia and the City of Riverdale Police Department,

and for hiring, training, supervising, and disciplining of agents, employees and police

officers of the City of Riverdale Police Department. Also the City of Riverdale Police


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Department delegated policymaking, policy implementation and/or policy enforcement

responsibility to some or all of these defendants. Jurisdiction and venue are proper.

10.      Plaintiff pleads and states that Defendants and their agents and employees,

including but not limited to Defendants Vanhee, Officer Sreng, Capt. Weathers, Chief

Patterson, Sgt. Palmer III III, and Jane and John Does 1 through 10, negligently

performed ministerial duties discussed herein and acted willfully and wantonly toward

Mr. Webb, proximately causing his damages. Therefore, no state or federal immunity

applies in this matter. Moreover, Defendants have exhibited a pattern and practice of

ignoring and violating the rights of the citizens of Georgia, including the Plaintiff, which

proximately caused his damages and, furthermore, these defendants were deliberately

indifferent to the constitutional rights of citizens, including Mr. Webb, and these

Defendants’ policies, practices, and customs were the driving force behind the

constitutional deprivations suffered by Mr. Webb.

11.      Plaintiff’s federal claims arise under 42 U.S.C. §1983 and the First, Fourth and

Fourteenth Amendments to the United States Constitution.

12.      Plaintiff’s state law claims arise from the same transaction and controversy as

Plaintiff’s federal claims and include assault, battery, false imprisonment, false arrest,

malicious prosecution, intentional infliction of emotional distress and more.

13.      A true and correct copy of the Ante Litem Notice was served on the City of

Riverdale, as required by O.C.G.A. § 36-33-5, on September 24, 2009.

                                         FACTS

14.      At all relevant times, Defendants Vanhee, Officer Sreng, Capt. Weathers, Chief

Patterson, Sgt. Palmer III, and Jane and John Does 1 through 10, were sworn members of

the City of Riverdale Police Department, and were acting under the color and pretense of


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the ordinances, regulations, customs, and usages of the State of Georgia and the City of

Riverdale Police Department and under the authority of their office and within the scope

of their employment as police officers.

15.      At all relevant times, Defendants City of Riverdale, Chief Patterson, Sgt. Palmer

III, and Jane and John Does 1-10 were vested with the obligation of ensuring that the

police officers of the City of Riverdale Police Department, including Defendants Vanhee,

Officer Sreng, Capt. Weathers, and Jane and John Does 1-10 of the City of Riverdale

Police Department, complied with the color and pretense of the statutes, ordinances,

regulations, customs, and usages of the State of Georgia and the City of Riverdale Police

Department. Defendants City of Riverdale, Chief Patterson, Sgt. Palmer III, and Jane and

John Does 1 through 10 of the City of Riverdale Police Department were responsible for

hiring, training, supervising, and disciplining of agents, employees and police officers of

the City of Riverdale Police Department, including Defendants Vanhee, Officer Sreng,

Capt. Weathers, Chief Patterson, Sgt. Palmer III., and Jane and John Does 1 through 10 of

the City of Riverdale Police Department.

16.      At the time of said incident on June 8, 2009, Dexter Webb was a citizen and

resident of the County of Clayton, in the State of Georgia and in the United States of

America. At all times relevant herein, Dexter Webb had legal rights established by the

Constitution of the United States, the Constitution of the State of Georgia, and laws set

forth by state and federal statutes.

17.      At all relevant times, Defendants Vanhee, Officer Sreng, Capt. Weathers, Chief

Patterson, Sgt. Palmer III, and Jane and John Does 1 through 10 worked in or supervised

in the Riverdale Police Department.




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18.      The illegal and unlawful actions of the Defendants constituted a violation of Mr.

Webb’s civil rights established by the Constitution of the United States and the law set

forth by federal statutes.

19.      The illegal and unlawful actions of the Defendants amounted to assault, battery,

false imprisonment, false arrest, malicious prosecution, intentional infliction of emotional

distress, and other violations under the state law.

20.      The acts, omissions, systemic corruption, policies, and customs of the City of

Riverdale, the City of Riverdale Police Department, and its supervisors, including Chief

Patterson, Sgt. Palmer, and Jane and John Does 1 through 10 of the City of Riverdale

Police Department, were the driving force behind the constitutional violations of Mr.

Webb’s rights, including but not limited to Defendants Vanhee, Officer Sreng, Capt.

Weathers, and Jane and John Does 1 through 10’s effort to meet RPD’s unconstitutional

and illegal performance targets, with the foreseeable result that officers would violate

citizen’s civil rights, including Dexter Webb, in the future.

21.      On June 8, 2009, at approximately 8:46 p.m., Dexter Webb was using his cell

phone in his parked vehicle, with the engine turned off, in front of his apartment building

in Riverdale, GA.

22.      Mr. Webb noticed a police car pass his car, then back up, and stop.

23.      Defendant Vanhee walked up to the right side of Mr. Webb’s vehicle (the

passenger side door) and shined a light into his truck, and then tapped on Mr. Webb’s

window.

24.      Mr. Webb asked, “May I help you?” Vanhee said in a harsh tone, “Give me your

ID!” Mr. Webb politely asked “for what reason,” and continued to say, “I live here.”




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25.      Vanhee refused to answer his question, so Mr. Webb placed a call to his attorney.

26.      Mr. Webb’s attorney asked to speak with Vanhee, however, Vanhee refused to

speak with him.

27.      At that point, Mr. Webb’s attorney advised him to go into his home.

28.      Mr. Webb exited his vehicle and began walking up towards his apartment.

29.      He unlocked the door with the key and opened the door.

30.      As he opened the door, Vanhee put his foot in the doorway, blocking Mr. Webb

entering his apartment.

31.      Vanhee pushed Mr. Webb in his chest, almost knocking him to the ground, in front

of his wife and children. Mr. Webb told Vanhee that he had no right to push him.

32.      Robyn Webb asked Vanhee what her husband did, but he refused to respond to her.

33.      Defendant Vanhee called for additional officers.

34.      When the other officers arrived, one of them asked Mr. Webb for his ID. Mr. Webb

presented his ID to Officer Marshall Hardeman, and after presenting his ID, it was

determined that Mr. Webb was who he purported to be; and there were no outstanding

warrants for his arrest.

35.      Mr. Webb was handcuffed and placed under arrest for disorderly conduct and

obstruction.

36.      After being handcuffed, he was placed in the back of Defendant Vanhee’s police

car, without a seat belt.

37.      Defendant Vanhee waited approximately five minutes for all of the other officers to

leave the scene, and then told Mr. Webb, “I’m going to teach you a lesson now.”




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38.      After leaving the apartment complex, Defendant Vanhee proceeded to drive

without his siren or lights on, at high speeds, and making sharp turns, as to cause Mr.

Webb to be thrown from side to side in the back seat of the police cruiser.

39.      Mr. Webb was scared for his life, because of the speed at which Vanhee was

driving.

40.      Rather than proceed directly to the Clayton County jail in compliance with police

procedure and protocol, Defendant Vanhee detoured.

41.      Defendant Vanhee drove Mr. Webb to the rear of a building to a vacant parking lot

of a Chinese Restaurant.

42.      Mr. Webb asked Defendant Vanhee, when was he going to take him to jail, upon

which, Defendant Vanhee made no reply.

43.      Defendant Vanhee, then, turned on the heat to full blast, with all of the windows

rolled up, and left him alone in the police cruiser for a substantial amount of time.

44.      According to the history weather report for Riverdale, GA, it was approximately

eighty degrees, at this time. Mr. Webb was scared for his life, and attempted to motion for

help, all while being trapped in the heat, and barely able to breathe.

45.      At some point, Mr. Webb witnessed Defendant Vanhee make a call from his cell

phone.

46.      Approximately fifteen minutes later, Defendant Officer Sreng arrived to said

location.

47.      Vanhee said something to Defendant Officer Sreng, and then opened the back door

to the police car, and told Mr. Webb to “turn your head,” so that Defendant Officer Sreng

could take his picture.




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48.      Defendant Officer Sreng noticed that Mr. Webb was “sweating profusely,” and

asked if he was OK.

49.      Defendant Vanhee told her he was ready for her to take the picture, upon which

time, she attempted to take the picture. While attempting to take the picture, the Defendant

Officer Sreng stated to Mr. Webb, “You should be in jail.”

50.      Mr. Webb asked for Defendant Officer Sreng’s badge number, however, she did

not give him her badge number.

51.      Defendant Officer Sreng left said location, and Defendant Vanhee continued to

hold Mr. Webb in his car for approximately twenty minutes longer, before transporting him

to the Clayton County jail.

52.      Once arriving at the Clayton County Jail, Defendant Vanhee kept Mr. Webb in the

police cruiser for an unknown amount of time before finally taking him inside.

53.      While sitting in the car outside the station, Mr. Webb tried to get the attention of

other officers who were passing by, because it was still extremely hot in the car, and Mr.

Webb could barely breathe. Defendant Vanhee took Mr. Webb into the jail to be booked at

11:23 p.m., and he was released the next morning.

54.      According to Clayton County jail records, Defendant Vanhee wrote the arrest ticket

at 21:04 (9:04 p.m.); however, Mr. Webb was not booked into the jail until 23:23 (11:23

p.m.).

55.      It is only .94 miles, and takes only two minutes to get from Mr. Webb’s residence

to the Riverdale City Jail. For over two (2) hours and (19) minutes, Defendant Vanhee

committed the acts complained of during this time.




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56.     The charges against Mr. Webb were later dismissed by the Clayton County

Solicitor’s Office.

57.     Upon information and belief, the Defendant RPD and Defendant City of Riverdale

hired Defendant Vanhee with actual knowledge of Defendant Vanhee’s propensity for

harassment, misconduct, and failure to comply with police policies and procedures.

58.     Pursuant to Defendant City of Riverdale and Defendant RPD’s policy of hiring and

retaining law enforcement officers whose prior conduct indicated their propensity for

harassment, misconduct, and failure to comply with police policies and procedures, the

Defendant RPD failed to exercise reasonable care and diligence in assessing Defendant

Vanhee’s record, for duty as a police officer, which failure was the proximate cause of the

injuries suffered by Plaintiff on June 8, 2009.

59.     Upon intention and belief, subsequent to the hiring of Defendant Vanhee, the

Defendant City of Riverdale and Defendant RPD became aware of numerous incidents of

misconduct on the part of Defendant Vanhee.

60.     Upon intention and belief, prior to the incidents giving rise to this action, Defendant

Vanhee had been disciplined on, different occasions for various acts of misconduct.

61.     Upon information and belief, Defendant City of Riverdale and Defendant RPD was

in receipt of numerous complaints filed by private citizens, against Defendant Vanhee,

including, but not limited to, complaints of stopping citizens with no probable cause, making

false reports, making false arrests, racial profiling, violating citizens civil rights, harassment,

sexual misconduct, rude/disrespectful behavior, excessive use of force, conduct unbecoming

of an officer, reckless driving and endangering a passenger while transporting him to jail.




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62.     Despite Defendant City of Riverdale and Defendant RPD’s actual knowledge of

numerous complaints filed by private citizens against Defendant Vanhee, Defendant City

of Riverdale and Defendant RPD failed to take responsive action, including failing to

provide adequate training and supervision. Such conduct on the part of Defendants

constitutes as deliberate indifference to known and predictable risks of harassment and

altercations between Defendant Vanhee and private citizens.

63.     As a consequence of Defendants misconduct, Plaintiff has suffered physical

injury, pain and suffering, and severe mental and emotional distress, and has incurred

special damages in the form of medical bills and attorney’s fee.

64.     The Defendant City of Riverdale and Defendant RPD has procured an insurance policy

insuring against liability for the acts described herein, that is greater than the amount

provided by O.C.G.A § 36-92-2. Pursuant to O.C.G.A § 36-92-2, Defendant City of Riverdale

and Defendant RPD and has therefore waived sovereign immunity to the extent of such

insurance coverage.

                                         COUNT I

                 42 U.S.C. § 1983 – VIOLATION OF CIVIL RIGHTS

                                   (ALL DEFENDANTS)

65.     Plaintiff restates and re-alleges the foregoing paragraphs 1 through 52 as though

they were fully repeated herein.

66.     Defendants, acting under color and authority of state law, have maliciously and

intentionally deprived Dexter Webb of his rights, privileges, and immunities secured by the

United States Constitution and its laws in violation of 42 U.S.C. § 1983.




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67.     Defendants maliciously and intentionally deprived Mr. Webb of his Fourth Amendment

and Fourteenth Amendment rights, including the prohibition against unreasonable search and

seizures.

68.     Defendants maliciously and intentionally deprived Mr. Webb of his Fourteenth

Amendment rights, including the prohibition against depriving persons of life, liberty, or

property with due process of law, and the prohibition against denying any person equal

protection under the laws.

                                      COUNT II

       VIOLATION OF FOURTH AND FOURTEENTH AMENDMENTS

      TO THE UNITED STATES CONSTITUION UNDER 42 U.S.C. § 1983

                  UNCONSTITIONAL SEARCH AND SEIZURE

                                (ALL DEFENDANTS)

69.     Plaintiff restates and re-alleges the foregoing paragraphs 1 through 60 as though

they were fully repeated herein.

70.     Defendant Vanhee’s conduct in unlawfully entering into Plaintiff residence and

detaining Plaintiff without probable cause, constitute as a violation of Plaintiff’s Fourth

and Fourteenth Amendment rights to be free from unreasonable search and seizure, and is

actionable pursuant to 42 U.S.C. § 1983.

                                    Unreasonable Seizure

71.     Defendants had no particularized and objective basis to believe that Mr. Webb whom

they seized, had committed or was in the process of committing any criminal offense.

72.     The detention of Mr. Webb was unreasonable seizure under the Fourth and Fourteenth

Amendments to the United States Constitution.

73.     The seizure of Mr. Webb was excessive and unreasonable in duration and scope.


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74.     The seizure of Mr. Webb constituted an arrest, when Defendant Vanhee prevented Mr.

Webb from entering his home, for which probable cause was required.

75.     The arrest of Mr. Webb was unreasonable.

76.     The seizure of Mr. Webb for over two hours before bringing him into the station for

booking was unreasonable in duration and scope.

77.     Defendant Vanhee intended to confine Mr. Webb, committed acts resulting in his

confinement, and Mr. Webb was aware of his confinement. Mr. Webb reasonably did not

believe that he was free to leave.

78.     City of Riverdale Police Department had neither a warrant, nor probable cause plus

exigent circumstances, authorizing a search and seizure of Mr. Webb.

79.     Defendant Vanhee had neither a warrant, nor probable cause plus exigent

circumstances, authorizing a search and seizure of Mr. Webb.

80.     Defendants acted with reckless, deliberate and callous indifference to the

constitutionally protected rights of Mr. Webb.

81.     It was clearly established on June 8, 2009 that detaining, arresting, or searching Mr.

Webb, about whom officers had no reasonable suspicion or probable cause, simply because he

was sitting in his vehicle in a particular neighborhood, would violate Mr. Webb’s clearly-

established constitutional rights. The Defendants had fair warning that their conduct would

violate the Constitution, and no reasonable officer could have believed that the detention, arrest,

or search of Mr. Webb was legal.

82.     It was clearly established on June 8, 2009 that entering Mr. Webb’s private home in the

absence of a warrant or probable cause plus exigent circumstances would violate Plaintiff

Webb’s clearly-established constitutional rights. The Defendants had fair warning that their




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conduct would violate the Constitution, and no reasonable officer could have believed that the

warrantless entry of Mr. Webb’s private home was legal.

83.     It was clearly established on June 8, 2009 that arresting Mr. Webb within his private

home in the absence of a warrant, or probable cause plus exigent circumstances, would violate

Mr. Webb’s clearly-established constitutional rights. The Defendants had fair warning that their

conduct would violate the Constitution, and no reasonable officer could have believed that the

warrantless arrest of Mr. Webb in his private home was legal.

                                       EXCESSIVE FORCE

84.     Defendant Vanhee used and directed excessive force against Mr. Webb when he was

not authorized to utilize any force.

85.     Defendants’ use of excessive force was unreasonable.

86.     As a result of Defendants actions depriving Mr. Webb of his civil rights in violation of

42 U.S.C. § 1983, Plaintiff has suffered damages as outlined in detail in this Complaint,

including pain and suffering.

87.     The actions of the Defendants, as stated herein, denied Plaintiff his right to equal

protection under the law and his right to the Due Process Clause of the Fourteenth

Amendment to the United States Constitution, for which Defendants are liable for general,

special, and punitive damages where allowed by law.

                                        COUNT III

        VIOLATION OF FIRST AND FOURTEENTH AMENDMENTS

      TO THE UNITED STATES CONSTITUION UNDER 42 U.S.C. § 1983

                                 (ALL DEFENDANTS)

88.     Plaintiff restates and re-alleges the foregoing paragraphs 1 through 52 as though

they were fully repeated herein.


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89.    By responding to Mr. Webb who unobtrusively asked for names, badge numbers,

or other information about the officers’ execution of their duties with force, threats, and

other acts of retaliation, the Defendants violated the rights of Mr. Webb under the United

States Constitution verbally to question, challenge, or criticize the police in a manner that

does not obstruct the officers.

90.    Defendants acted with reckless, deliberate and callous indifference to the

constitutionally protected rights of Mr. Webb.

91.    It was clearly established on June 8, 2009 that preventing persons from exercising

their First Amendment right verbally to question, challenge, or criticize the police in a

manner that does not obstruct the officers, or punishing them for doing so, violated Mr.

Webb’s clearly-established constitutional rights. The Defendants had fair warning that

their conduct would violated the Constitution, and no reasonable officer could have

believed that under these circumstances it was legal to prevent persons from exercising

their First Amendment rights or punish them for doing so.

92.    The Defendants’ actions at Mr. Webb’s home were conducted pursuant to a City of

Riverdale Police Department policy, practice and/or custom with the force of law to

prevent persons from exercising their First Amendment right verbally to question,

challenge, or criticize police officers in a manner that does not obstruct legitimate law

enforcement activity, and/or punish them for doing so.

                                      COUNT IV

                       42 U.S.C. § 1983 – MONELL LIABILITY

                                   (ALL DEFENDANTS)

93.    Plaintiff restates and re-alleges the foregoing paragraphs 1 through 52 as though

they were fully repeated herein.


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94.     For a significant period leading up to the incident with Dexter Webb, Defendants City

of Riverdale doing business as City of Riverdale Police Department, Chief Patterson, Sgt.

Palmer III, and Jane and John Does 1 through 10 have had a persistent widespread practice of

allowing City of Riverdale Police Officers to make unlawful arrests of private citizens. Further,

these Defendants were aware and deliberately indifferent to the widespread and systemic

corruption within the Riverdale Police Department. Such custom, policy, and practice was the

driving force leading to the violations of Mr. Webb’s civil rights, as describe in this Complaint.

95.     Defendants City of Riverdale doing business as City of Riverdale Police Department,

Chief Patterson, Sgt. Palmer III, and Jane and John Does 1 through 10 have a persistent and

widespread practice of allowing City of Riverdale Police Department officers use unreasonable

harassment without justification. Further, these defendants were deliberately indifferent to this

practice and custom within the Riverdale Police Department, thereby allowing the deprivation

of Mr. Webb’s civil rights, as described in this Complaint.

96.     Defendants City of Riverdale doing business as City of Riverdale Police Department,

Chief Patterson, Sgt. Palmer III, and Jane and John Does 1 through 10 have a persistent and

widespread practice of allowing City of Riverdale Police officers to violate City of Riverdale

Police Department’s own policies and procedures. Further, these Defendants were deliberately

indifferent to this practice and custom within the Riverdale Police Department by failing to

enforce policies; failing to properly train; failing to properly discipline; thus creating a culture

within the Riverdale Police Department where in violating citizen’s civil rights was not only

tolerated, but encouraged; thereby allowing the deprivation of Mr. Webb’s civil rights as

described in this complaint.




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97.     Defendants City of Riverdale doing business as City of Riverdale Police Department,

Chief Patterson, Sgt. Palmer III, and Jane and John Does 1 through 10 have had a persistent and

widespread practice of failing to properly train and supervise the City of Riverdale Police

officers, thereby allowing the deprivation of Mr. Webb’s civil rights, as described in this

Complaint.

98.     Defendants City of Riverdale doing business as City of Riverdale Police Department,

Chief Patterson, Sgt. Palmer III, and Jane and John Does 1 through 10 have had a persistent and

widespread practice of ratifying and condoning the unlawful and illegal activity of the City of

Riverdale Police officers, thereby allowing the deprivation of Mr. Webb’s civil rights, as

described in this Complaint.

99.     Defendants City of Riverdale doing business as City of Riverdale Police Department,

Chief Patterson, Sgt. Palmer III, and Jane and John Does 1 through 10 in failing to properly

train, monitor, and supervise the City of Riverdale Police officers, thereby allowing the

deprivation of Mr. Webb’s civil rights, as described in this Complaint

                                       COUNT V

VIOLATION OF THE GEORGIA CONSTITUTION, ART. I, SEC. ¶¶ XIII, XVII

                           (INDIVIDUAL DEFENDANTS)

100.    Plaintiff restates and re-alleges the foregoing paragraphs 1 through 52 as though

they were fully repeated herein.

101.    The Individual Defendants, by the foregoing actions, committed unreasonable

seizures, used excessive force, and conducted unreasonable searches in violation of

Georgia Constitution, Art. I, Sec. 1 ¶¶ XIII, XVII.

102.    Plaintiff Webb is entitled to damages as set forth herein.




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                                          COUNT VI

           VIOLATION OF GEORGIA CONSTITUTION, ART. I SEC. 1¶¶ V. IX

UNCONSTITIONAL DENIAL AND SUPPRESSION OF THE RIGHT OF FREE SPEECH

    AND THE RIGHT TO QUESTION THE CONDUCT OF POLICE OFFICERS

                              (INDIVIDUAL DEFENDANTS)

    103.     Plaintiff restates and re-alleges the foregoing paragraphs 1 through 52 as though

    they were fully repeated herein.

    104.     By responding to Plaintiff Webb who unobtrusively asked for names, badge

    numbers, and other information about the officers’ execution of their duties with force,

    threats, and other acts of retaliation, the Defendants violated the rights of Mr. Webb under

    the Georgia Constitution verbally to question, challenge, or criticize the police in a manner

    that does not obstruct legitimate law enforcement activity.

    105.     Plaintiff Webb is entitled to damages as set forth herein.



                                           COUNT VII

                            TRESPASS, ASSAULT AND BATTERY

                                    (DEFENDANT VANHEE)

    106.     Plaintiff restates and re-alleges the foregoing paragraphs 1 through 52 as though

    they were fully repeated herein.

    107.     Defendant Vanhee’s entry into the premises of Mr. Webb’s residence amounts to

    trespass and malicious and intentional assault and battery on Mr. Webb’s person.

                                            TRESPASS

    108.     Defendant Vanhee blocked Mr. Webb’s access to his home by placing his body in

    the path of Mr. Webb and into the private home of Mr. Webb without a warrant, probable


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cause plus exigent circumstances, or consent and this act constitute a trespass in violation

of O.C.G.A. § 51-10-3.

109.    Defendants, with malice and oppression, trespassed upon and/or combined and

conspired to commit trespass.

110.    Plaintiff Webb is entitled to damages as set forth herein.

                               ASSAULT AND BATTERY

111.    By grabbing Plaintiff’s shoulder, and then violently pushing him in his chest, almost

knocking him down, Defendant Vanhee put Mr. Webb in reasonable fear and apprehension of

imminent harmful or offensive contact.

112.    Defendant Vanhee’s conduct and comments amounts to a threat to commit battery on

the person of Mr. Webb. Defendant is liable to Mr. Webb for committing the offense of assault.

113.    Mr. Webb has suffered damages as a direct result of the conduct of Defendant Vanhee.

114.    Defendant Vanhee had no legal right to put his hands on Mr. Webb. By grabbing Mr.

Webb’s shoulder and violently pushing him through his door, Defendant Vanhee committed the

offense of battery.

115.    By detaining Mr. Webb in his police car for over two hours, with the windows rolled

up, and the heat on full blast, Defendant Vanhee committed the offense of battery. Because Mr.

Webb suffers from sleep apnea, Defendant Vanhee’s actions could have killed Mr. Webb.

116.    Defendant Vanhee’s conduct carried substantial physical harm, and severe emotional

and psychological distress.

117.    Defendant Vanhee intended to make harmful or insulting or provoking contact with the

Plaintiff Mr. Webb. Defendant Vanhee acts of grabbing, pushing Mr. Webb, driving

recklessly, parking behind an vacant store, turning the heat on in the car to excess amounts in

June, and continue to hold Plaintiff Mr. Webb in the vehicle were offensive, unlawful acts that


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would have been offensive to an ordinary person. Such acts constituted batter under the laws of

Georgia.

118.    Defendant Vanhee intended to make harmful or insulting or provoking contact with the

Plaintiff Mr. Webb. Defendant Vanhee acts of grabbing, pushing Mr. Webb, driving

recklessly, parking behind a vacant store, turning the heat on in the car to excess amounts in

June, and continue to hold Plaintiff Mr. Webb in the vehicle were illegal attempts to commit a

physical injury upon Plaintiff Mr. Webb and are actionable under O.C.G.A. § 51-1-14.

119.    Defendant Vanhee intended to make harmful or insulting or provoking contact with the

Plaintiff Mr. Webb. Defendant Vanhee acts of grabbing, pushing Mr. Webb, driving recklessly,

turning the heat on in the car to excess amounts in June, and continue to hold Plaintiff Mr.

Webb in the vehicle were offensive, Defendant Vanhee intentionally caused physical injury to

Plaintiff Mr. Webb, in violation of O.C.G.A. § 51-1-13.

120.    All Defendants combined and conspired to accomplish the unlawful objective of

committing a battery on Mr. Webb by unlawful means.

121.    Defendant Vanhee, with malice and oppression, committed a battery on and/or

combined and conspired to commit a batter on, Mr. Webb, and did so under color of legal

process.

122.    Plaintiff Mr. Webb is entitled to damages as set forth herein.

123.    Defendants’ unwelcome, unwarranted, and unjustified use of force and intentional

infliction of harm to the Plaintiff constituted battery under Georgia Law.




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                                    COUNT III

FALSE ARREST AND FALSE IMPRISONMENT UNDER GEORGIA LAW

                              (ALL DEFENDANTS)

124.   Plaintiff restates and re-alleges the foregoing paragraphs 1 through 63 as though

they were fully repeated herein.

125.   By grabbing Mr. Webb’s shoulder, and violently shoving him through his door,

Defendant Vanhee conveyed a message, that Mr. Webb was not free to leave, and

therefore unlawfully detained the Plaintiff.

126.   Defendants’ stopping, arresting, and imprisoning the Plaintiff was without

probable cause, was maliciously done, and therefore constitute the tort of false arrest and

false imprisonment under Georgia Law.

127.   Mr. Webb’s arrest was motivated by Defendant Vanhee’s decision to inflict

punishment upon Mr. Webb, and to teach him a lesson.

128.   Mr. Webb seeks a recovery of compensatory damages on account of his false

arrest and unlawful detention, and for having been unlawfully deprived of her liberty, in

such amount as the jury determines to be appropriate to compensate him for this wrongful

act against him.

                                      COUNT IV

MALICIOUS PROSECUTION UNDER GEORGIA LAW AND 42 U.S.C. § 1983

                                (ALL DEFENDANTS)

129.   Plaintiff restates and re-alleges the foregoing paragraphs 1 through 68 as though

they were fully repeated herein.




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130.      Defendant Vanhee’s wrongful arrest of the Plaintiff initiated a criminal proceeding

against the Plaintiff, which proceeding against the Plaintiff has concluded in Plaintiff’s

favor, and all charges were dismissed by the Clayton County Solicitors Office.

131.      Plaintiff could not have obstructed Defendant Vanhee, because Plaintiff was within

his rights to leave the encounter with Defendant Vanhee, therefore, there was no probable

cause to arrest Plaintiff.

132.      As a direct and proximate result of the Defendants’ malicious prosecution of Mr.

Webb, Mr. Webb was deprived of his freedom, and sustained damages in such an amount

as the jury deems appropriate to compensate Mr. Webb for the deprivation of his personal

freedom and interests.

                                         COUNT V

                                     NEGLIGENCE

                                 (ALL DEFENDANTS)

133.      Plaintiff restates and re-alleges the foregoing paragraphs 1 through 72 as though

they were fully repeated herein.

134.      Defendants negligently performed ministerial duties as defined and required by

Georgia law by allowing and condoning the behavior of the officers of the City Riverdale

Police Department, proximately causing the sustained injuries to Mr. Webb. Therefore, no

state immunity applied in this matter.

135.      Defendants negligently performed ministerial duties as defined and required by

Georgia Law when they failed to properly supervise and train their officers, proximately

causing the sustained injuries to Mr. Webb. Therefore, no state immunity applied in this

matter.




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136.    As a result of Defendants’ negligence, plaintiff has suffered damages as outlined

in detail in this Complaint.

                                        COUNT V

                                NEGLIGENT HIRING

                                 (ALL DEFENDANTS)

137.    Plaintiff restates and re-alleges the foregoing paragraphs 1 through 72 as though

they were fully repeated herein.

138.    Defendant City of Riverdale and Defendant Riverdale Police Department failed to

exercise reasonable diligence and care in hiring Defendant Vanhee, and such failure was

the proximate cause of the injuries suffered by the Plaintiff on June 8, 2009.

139.    Under the doctrine of respondeat superior, agency, or apparent agency,

Defendants City of Riverdale doing business as City of Riverdale Police Department,

Chief Patterson, Vanhee, Palmer III, Sreng, Weathers, John Does 1-10 and Jane Does 1-

10 are responsible for the actions of their officers.

                                       COUNT VI

                               NEGLIGENT RETENTION

                                 (ALL DEFENDANTS)

140.    Plaintiff restates and re-alleges the foregoing paragraphs 1 through 74 as though

they were fully repeated herein.

141.    Defendant City of Riverdale and Defendant Riverdale Police Department failed to

exercise reasonable diligence and care in continuing to employ Defendant Vanhee, and

such failure was the proximate cause of the injuries suffered by the Plaintiff on June 8,

2009.




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                                     COUNT VII

                 NEGLIGENT TRAINING AND SUPERVISION

                                (ALL DEFENDANTS)

142.   Plaintiff restates and re-alleges the foregoing paragraphs 1 through 76 as though

they were fully repeated herein.

143.   Defendant City of Riverdale and Defendant Riverdale Police Department failed to

exercise reasonable diligence and care in training and supervision of Defendant Vanhee,

and such failure was the proximate cause of the injuries suffered by the Plaintiff on June

8, 2009.

144.   Defendant City of Riverdale and Defendant RPD failed to properly supervise,

control, and discipline Defendant Vanhee, who has had a history of complaints made

against him prior to and subsequent the incident involving Plaintiff. Said failure was

continuing and constitutes a policy or custom on the part of Defendant City of Riverdale

and Defendant RPD and its policy makers.

                                     COUNT VIII

                          NEGLIGENT ENTRUSTMENT

                                (ALL DEFENDANTS)

145.   Plaintiff restates and re-alleges the foregoing paragraphs 1 through 79 as though

they were fully repeated herein.

146.   Defendant Vanhee’s actions came as a direct and proximate result of Defendant

City of Riverdale and Defendant RPD’s negligent entrustment of Defendant Vanhee,

which was the direct and proximate result of Plaintiff injuries, and emotional distress.




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                                       COUNT IX

          INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

                                 (ALL DEFENDANTS)

147.   Plaintiff restates and re-alleges the foregoing paragraphs 1 through 81 as though

they were fully repeated herein.

148.   Defendant Vanhee’s conduct was extreme and outrageous and was intended to and

did cause Plaintiff to suffer severe mental distress.

149.   Defendants’ actions constituted an intentional and willful infliction of emotional

distress upon Plaintiff for which Defendants’ are liable to Plaintiff for general, special, and

punitive damages where allowed by law.

150.   As a proximate result of Defendant Vanhee’s conduct, Mr. Webb suffered mental

pain, anguish, and continued psychological problems.

                                        COUNT X

                                PUNITIVE DAMAGES

                                 (ALL DEFENDANTS)

151.   Plaintiff restates and re-alleges the foregoing paragraphs 1 through 85 as though

they were fully repeated herein.

152.   Defendants’ outrageous conduct in causing Mr. Webb to be charged with a crime,

arrested, placed in handcuffs, and jailed, was not only malicious and outrageous, but

exhibited a specific intent to cause harm to Mr. Webb, for which Defendants are liable for

punitive damages, in such an amount as the jury determines to be appropriate, to punish

them or to deter them from repeating such willful and malicious conduct.




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153.    Defendants’ maliciously and intentionally injured Plaintiff, and their conduct

evidences a willful, wanton, and reckless disregard of Plaintiff’s rights.

154.    As a result of Defendants’ malicious and willful conduct, Plaintiff is entitled to a

punitive damages award against Defendants.

                                       COUNT XII

                                       DAMAGES

                                 (ALL DEFENDANTS)

155.    Plaintiff re-alleges and incorporates each and every allegation in the foregoing

paragraphs as if fully set forth herein.

156.    As a result of Defendants’ conduct, they are, jointly and severally, liable to the

Plaintiff for all damages allowed under law for the immense emotional and physical pain

and suffering endured by Dexter Webb.

                                           COUNT XI

                                   ATTORNEY’S FEES

                                 (ALL DEFENDANTS)

157.    Plaintiff restates and re-alleges the foregoing paragraphs 1 through 87 as though

they were fully repeated herein.

158.    Defendant Vanhee acted in bad faith and has caused Mr. Webb unnecessary

trouble and expense, which entitles Mr. Webb to reimbursement for the expenses of

litigation, including reasonable attorney’s fees pursuant to O.C.G.A. §13-6-11.



WHEREFORE, Plaintiff demands a jury trial and prays as follows:

A)      That service of process be made upon Defendants according to law;




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B)      That Plaintiff recover from Defendants a sum in the amount to be determined by

        the enlightened conscience of a jury for pain and suffering, the full amount of his

        medical expenses, the full amount of related expenses for aggravated damages to

        deter the Defendants from committing similar wrongs or Plaintiff recover an

        amount to fairly compensate for his loss sustained as determined by this court;

C)      That the Plaintiff recover his costs and reasonable attorney’s fees pursuant to 42

        U.S.C. § 1988 and O.C.G.A. § 13-6-11;

D)      All Defendants are jointly and severally liable for damages;

E)      That all issues be tried by jury; and

F)      For such other and further relief as the Court may deem just and proper.




This ______ day of ____________, 2010.



                                                Respectfully submitted,

                                                ________________________
                                                Nicole Y. Jones, Esq.
                                                Georgia bar No. 001352
                                                Jones Federal & Appellate LLC
                                                8677 Hospital Drive
                                                Douglasville, GA 30134
                                                (770) 934-8789 (telephone)
                                                (678) 990-5077 (fax)




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